               IN THE SUPREME COURT OF NORTH CAROLINA

                                 2021-NCSC-117

                                   No. 429A20

                              Filed 29 October 2021

SHELLEY BANDY, plaintiff and third-party defendant

STATE OF NORTH CAROLINA, intervenor–plaintiff

             v.
A PERFECT FIT FOR YOU, INC., MARGARET A. GIBSON, and RONALD
WAYNE GIBSON, defendants

             v.

A PERFECT FIT FOR YOU, INC., appellant/intervenor–defendant and third-party
plaintiff

             v.

MARGARET A. GIBSON, RONALD WAYNE GIBSON, R. WAYNE GIBSON, INC.,
and RW &amp; MA, LLC, cross-claim and third-party defendants


      Appeal pursuant to N.C.G.S. § 7A-27(a)(2) from final orders entered on 6

November 2019, 6 March 2020, 24 March 2020, 30 April 2020, 29 May 2020, 26 June

2020, 22 July 2020, 14 September 2020, and 5 October 2020 by Judge Gregory P.

McGuire, Special Superior Court Judge for Complex Business Cases, after the case

was designated a mandatory complex business case by the Chief Justice pursuant to

N.C.G.S. § 7A-45.4(b). This matter was calendared for argument in the Supreme

Court on 6 October 2021 but determined on the record and briefs without oral

argument pursuant to Rule 30(f) of the North Carolina Rules of Appellate Procedure.
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           Philip J. Mohr and Brent F. Powell for appellants A Perfect Fit For You, Inc.,
           Douglas M. Goines as Receiver, and the Law Firm of Womble Bond Dickinson
           (US), LLP.

           No brief filed for appellees.


           EARLS, Justice.

¶1         The question before us is whether the Business Court erred in refusing to

     authorize the court-appointed receiver for the company A Perfect Fit For You, Inc. (A

     Perfect Fit) to pay fees to the law firm Womble Bond Dickinson (US), LLP (Womble)

     for services rendered by one of the firm’s attorneys, Philip J. Mohr. The Business

     Court did not refuse to authorize the receiver to pay Womble’s fees on the basis of any

     finding relating to the nature or quantity of the legal services Mr. Mohr provided.

     Instead, the Business Court refused authorization solely on the basis of its conclusion

     that Mr. Mohr and the receiver had “flagrant[ly] disregard[ed] . . . the requirements

     imposed by” a previous court order which established the process the receiver and

     Womble were required to follow when seeking authorization for fee payments.

¶2         Appellants argue that the Business Court abused its discretion in refusing to

     authorize fee payments based upon an assessment of the receiver’s and Mr. Mohr’s

     purported lack of compliance with a court order. In the alternative, appellants argue

     that the Business Court’s order should be construed as an order imposing sanctions

     against Womble without prior notice and an opportunity to be heard, in violation of

     Womble’s due process rights under the Fourteenth Amendment to the United States
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     Constitution and article I, section 19 of the North Carolina Constitution. In addition,

     appellants also challenge the Business Court’s denial of the receiver’s subsequent

     requests for authorization to pay fees for work performed by Womble on its appeal of

     the orders refusing to authorize fee payments for the services rendered by Mr. Mohr.

¶3         We hold that the Business Court’s decision to deny authorization for the

     receiver to pay Womble fees incurred for Mr. Mohr’s work was an abuse of discretion.

     In addition, the Business Court’s order could not permissibly impose monetary

     sanctions on Womble because the record indicates that the party being sanctioned

     did not have prior notice and an opportunity to be heard. Finally, it was error to deny

     the receiver’s request for permission to pay Womble’s fee-litigation fees without

     making necessary findings specifically regarding the value to the receivership, or lack

     thereof, of the work which generated these fees. Accordingly, we reverse the Business

     Court’s order refusing to authorize payment of fees to Womble for Mr. Mohr’s work

     and the relevant Business Court orders denying the receiver’s request to pay

     Womble’s fee-litigation fees and remand this case to the Business Court for further

     proceedings not inconsistent with this opinion.

      I.   Appointment of the receiver and the services rendered by Womble.

¶4         In 2016, Shelley Bandy filed a complaint and ex parte request for appointment

     of a receiver over A Perfect Fit, a medical equipment company located in Carteret

     County. On the day the complaint was filed, Senior Resident Superior Court Judge
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     Benjamin G. Alford entered a temporary restraining order and an order appointing

     M. Douglas Goines as the company’s receiver. Judge Alford subsequently entered an

     order granting a preliminary injunction and appointing a receiver which provided

     that Mr. Goines would “continue as receiver, vested with full powers granted under

     statute to take possession of and manage the business, books, and profits of the

     corporation . . . until further Order of this Court.” The matter was later designated a

     mandatory complex business case and transferred to the North Carolina Business

     Court.

¶5            After taking over A Perfect Fit, the receiver became concerned that the

     company may have fraudulently billed nearly $12 million in claims to the Medicaid

     program. The receiver hired Womble to conduct a comprehensive audit of the

     company’s records. The audit revealed that the company lacked sufficient funds to

     pay back the $12 million the receiver believed the company had fraudulently

     obtained. Shortly thereafter, the State of North Carolina filed an intervenor

     complaint against A Perfect Fit seeking to recoup the nearly $12 million in allegedly

     fraudulent claims. In November 2017, the United States Department of Justice

     issued a “target letter” advising the company that it was the target of a federal

     criminal investigation. One month later, the United States Attorney for the Eastern

     District of North Carolina and the North Carolina Attorney’s General’s Office filed a

     civil recoupment action in federal court. The Business Court entered a stay of its
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     proceedings pending resolution of the federal matter.

¶6         Until the Business Court stayed proceedings, the receiver had paid Womble’s

     fees as an ordinary business expense without seeking permission from the court.

     However, on 5 March 2018, the Business Court entered an order providing that the

     receiver would henceforth be required to “submit bills for its outside counsel fees to

     the court for review on a go-forward basis.” Subsequently, counsel from Womble

     submitted invoices for work performed for the receiver on behalf of the receivership.

     The court authorized the receiver to pay the invoices and clarified that “[t]he

     Receiver, and not outside counsel, should submit the request for authorization to pay

     outside counsel’s fees and costs.” (Emphasis added.)

¶7         In September 2018, a hurricane caused extensive damage to A Perfect Fit’s

     storefront, ultimately causing the business to cease operations. Around that same

     time, some of the named defendants indicated they were close to reaching a tentative

     settlement with the United States Department of Justice and the State of North

     Carolina.

¶8         In July 2019, the Business Court entered an order calendaring a status

     conference. At the conference, the Business Court asked Mr. Mohr why the court had

     not received any invoices for work performed by Womble since 2018. Mr. Mohr

     responded that no invoices had been submitted because the parties were engaged in

     settlement negotiations which, if successful, would have eventually required court
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     approval. Mr. Mohr also noted that, pursuant to the Business Court’s previous order

     on attorney’s fees, only the receiver was authorized to submit invoices to the court.

     The receiver separately explained that he had misunderstood what the order on

     attorney’s fees required and had not intentionally failed to comply with the procedure

     it set out. During the conference, the Business Court “expressed its frustration that

     by not submitting the bills from counsel and the Receiver on a timely basis, that it

     placed a difficult burden on the Court to suddenly have to review several months of

     bills all at one time.”

¶9          After the status conference, the Business Court entered an order lifting its

     earlier stay of proceedings. The receiver then submitted all of Womble’s outstanding

     invoices, totaling approximately $70,600 in fees. On 6 November 2019, the court

     entered an order authorizing payment of all of Womble’s fees except for those arising

     from work performed by Mr. Mohr, finding that “the time expended by the[ ] attorneys

     [other than Mr. Mohr] was reasonably necessary to the Receiver to fulfill his duties.”

     With regard to the fees incurred for work performed by Mr. Mohr, the Business Court

     explained that it would “decline[ ] to approve payment of the $59,355.00 in legal fees

     incurred because of Mohr’s work” due to “the Receiver’s and Mohr’s flagrant disregard

     for the requirements imposed by the Order on Attorneys’ Fees [which] warrants a

     significant reduction in the fees, and that reduction should be borne by Mohr.”

     Appellants filed a timely notice of appeal.
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¶ 10         On 30 January 2020, as appellants’ initial appeal was pending before this

       Court, the receiver submitted Womble’s December 2019 invoice, which included a

       request to pay Womble’s fees for work performed on the appeal of the order refusing

       to authorize the payment of fees for work performed by Mr. Mohr. The Business Court

       subsequently entered an order approving payment of all fees incurred upon the

       finding that “the requested attorneys’ fees and expenses were incurred for services

       reasonably rendered by [Womble] to the Receiver for the benefit of Perfect Fit.”

¶ 11         On 27 February 2020, the receiver again submitted an invoice to the court,

       again including a request for authorization to pay fees for work performed by Womble

       on the fee-recoupment appeal. This time, the Business Court refused to authorize

       payment of fees incurred by Womble relating to the appeal, concluding that

                    the attorneys’ fees related to the Appeal were not incurred
                    for services reasonably rendered by [Womble] to the
                    Receiver for the benefit of Perfect Fit. To the contrary, the
                    Appeal, if successful, would benefit only [Womble] and
                    would reduce the assets of Perfect Fit. The fees incurred for
                    this work should be borne by [Womble], and not Perfect Fit.
                    Accordingly, the Court, in its discretion, declines to
                    approve payment of the $5,030.50 in legal fees incurred
                    because of work done by [Womble] on the Appeal.

       The Business Court acknowledged in its order “that it previously approved the

       payment of a small amount of [Womble’s] fees for work it performed on the Appeal”

       but characterized this approval as resulting from an “inadvertent oversight.”

       Appellants filed a timely notice of appeal of this order.
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¶ 12         Thereafter, on 24 March 2020, 30 April 2020, 29 May 2020, 26 June 2020, 22

       July 2020, 14 September 2020, and 5 October 2020, the Business Court entered orders

       denying the receiver’s request for authorization to pay Womble for legal services

       performed by its attorneys relating to the fee-recoupment appeals. The present case

       encompasses the appellants’ consolidated appeals from both the initial order refusing

       to authorize the receiver to pay Mr. Mohr’s fees as well as all subsequent Business

       Court orders denying the receiver’s requests to pay fees incurred for work performed

       by Womble in relation to the fee-recoupment appeals.1

                                      II.    Legal Analysis.

       A. The Business Court’s decision was an abuse of discretion because it was
          based on a legally extraneous factual finding.

¶ 13         When an attorney performs legal services for a receiver in connection with the

       receiver’s administration of a receivership, the attorney may recoup “reasonable and

       proper compensation for . . . services which require legal knowledge and skill and

       which were rendered to the receiver for the benefit of the receivership.” Lowder v. All

       Star Mills, Inc., 309 N.C. 695, 707 (1983). Still, “those employed by a receiver to assist

       in the administration of a receivership should understand that their compensation is

       subject to trial court review and approval.” Id. A trial court is vested with the



             1 On 19 October 2020, this Court allowed appellants’ motion to consolidate the various

       appeals and ordered that any subsequent notices of appeal related to any subsequent order
       denying Womble’s fees related to work performed on the appeals should be filed as a
       supplement to the record on appeal or as an appendix to the briefs.
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       discretionary authority to, in the first instance, “fix[ ] the compensation, if any, to be

       allowed for the services of an attorney for a receiver,” and a trial court’s decision on

       this issue is accorded deference on appeal. King v. Premo &amp; King, Inc., 258 N.C. 701,

       712 (1963) (quoting 75 C.J.S. Receivers § 384a, at 1049). “[N]evertheless[, the trial

       court’s] discretion must be properly exercised and not abused, and the matter is

       discretionary only in the sense that there are no fixed rules for determining the

       proper amount, and not in the sense that the court is at liberty to award more [or

       less] than fair and reasonable compensation.” Id.

¶ 14         Put another way, a trial court’s discretion to grant or deny a receiver’s request

       for authorization to pay fees to retained outside counsel is generally limited to

       (1) determining whether outside counsel rendered “services which require legal

       knowledge and skill and which were rendered to the receiver for the benefit of the

       receivership” and (2) determining the amount which comprises “reasonable and

       proper compensation for” the services outside counsel performed. Lowder, 309 N.C.

       at 707. When a trial court enters an order granting or denying a request to pay fees

       which contains adequate factual findings supporting its conclusions on these two

       questions, the trial court’s determination is “prima facie correct,” King, 258 N.C. at

       712, and will not be disturbed on appeal absent a showing that the court’s decision

       was “manifestly unsupported by reason or . . . so arbitrary that it could not have been

       the result of a reasoned decision,” Briley v. Farabow, 348 N.C. 537, 547 (1998).
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¶ 15         In its order denying the receiver’s request to pay Mr. Mohr’s fees, the Business

       Court did not enter findings addressing either of these two questions. The Business

       Court did not find that Mr. Mohr had not rendered legal services to the receiver for

       the benefit of the receivership. Nor did the Business Court find that it would be

       reasonable and proper to provide Mr. Mohr with zero compensation for any such

       services he may have rendered. Instead, the Business Court denied the receiver’s

       request for authorization solely based upon what the court perceived to be the

       receiver’s and Mr. Mohr’s failure to adhere to the requirements of its prior order

       dictating how invoices for attorney’s fees should be submitted to the court. Absent

       any explanation as to how this finding related to the Business Court’s assessment of

       the legal services Mr. Mohr provided to the receiver, or to what would comprise

       reasonable and proper compensation for those services, this is not a permissible

       justification for denying a receiver’s request to authorize the payment of fees to

       outside counsel.

¶ 16         A trial court’s decision is necessarily an abuse of discretion when it reaches a

       conclusion based solely upon findings of fact which are irrelevant to the legal question

       the court is tasked with addressing. See Da Silva v. WakeMed, 375 N.C. 1, 5 n.2 (2020)

       (“[A]n error of law is an abuse of discretion.”); see also King, 258 N.C. at 712 (“[An

       appellate court] will not alter or modify [an order authorizing or refusing to authorize

       payment of fees] unless based on the wrong principle, or clearly inadequate or
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       excessive” (emphasis added)). In this case, by answering the question of whether

       Womble was entitled to recoup its fees for Mr. Mohr’s work solely by reference to the

       receiver’s and Mr. Mohr’s purported failure to properly submit Womble’s invoices for

       court approval—rather than by conducting an analysis of the legal work Mr. Mohr

       performed for the receiver—the Business Court’s decision constituted an abuse of

       discretion.

       B. The Business Court’s order impermissibly imposed sanctions without
          providing notice and an opportunity to be heard to the party being
          sanctioned.

¶ 17         Although the Business Court’s assessment of Mr. Mohr’s compliance with its

       prior order on attorney’s fees cannot support the court’s conclusion that Womble was

       not entitled to payment for Mr. Mohr’s work, a trial court does possess the inherent

       authority to sanction parties and attorneys for misconduct during the course of

       litigation. Under appropriate circumstances, a trial court may impose sanctions,

       including monetary sanctions, either on motion of a party or sua sponte. See, e.g.,

       State v. Defoe, 364 N.C. 29, 34 (2010) (“[T]rial courts of this State have inherent

       authority to enforce procedural and administrative rules . . . .”); see also Grubbs v.

       Grubbs, No. COA16-129, 2017 WL 892564, at *14 (N.C. Ct. App. Mar. 7, 2017)) (“A

       judge’s power to admonish counsel or parties can be either sua sponte or subject to a

       motion from a party, such as a show cause motion or Rule 11 sanctions.”). Further, in

       certain cases, a trial court may sanction a party or attorney for failing to comply with
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       a prior court order governing the party’s or attorney’s conduct during litigation. See

       Daniels v. Montgomery Mut. Ins. Co., 320 N.C. 669, 674 (1987) (holding it to be “within

       the inherent power of the trial court to order plaintiff to pay defendant’s reasonable

       costs including attorney's fees for failure to comply with a court order”); see also Red

       Valve, Inc. v. Titan Valve, Inc., No. 18 CVS 1064, 2019 WL 4182521, at *17 (N.C.

       Super. Ct. Sept. 3, 2019) (ordering sanctions based upon a party’s “failure to comply

       with the legal duties imposed by the [Business] Court’s orders and applicable law,

       which individually and collectively reflect [the party’s] utter disregard for the [court’s]

       authority and the legal process”), aff’d per curiam, 376 N.C. 798, 2021-NCSC-17.

       Thus, we must also consider whether the Business Court’s order can be sustained as

       an order imposing monetary sanctions on Womble based upon Mr. Mohr’s purported

       violation of the prior order which specified how the parties should submit Womble’s

       invoices to the court.2

¶ 18          There are two legal requirements governing the trial court’s entry of an order

       imposing sanctions against a party or attorney which are relevant in this case. First,



              2 Not every court order denying a receiver’s request to pay outside counsel’s fees is

       immediately appealable. However, in this case, the Business Court’s order can reasonably be
       construed as an order imposing monetary sanctions on Womble. In addition, the Business
       Court’s order only denied the receiver’s request to pay outside counsel’s fees in part—the
       order also granted the receiver’s request to pay fees incurred by counsel for work not
       performed by Mr. Mohr, thus dissipating the pool of assets of the receivership from which
       Womble could ultimately be paid. Therefore, under these circumstances, we conclude that
       this Court has jurisdiction over the challenged orders pursuant to N.C.G.S. 7A-27(a)(2). See
       Battery Park Bank v. W. Carolina Bank, 126 N.C. 531 (1900).
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       before an order imposing sanctions against a party is entered, the party whose

       conduct is being sanctioned must be provided with notice of the basis upon which

       sanctions are being sought and an opportunity to be heard. See Griffin v. Griffin, 348

       N.C. 278, 280 (1998) (“In order to pass constitutional muster, the person against

       whom sanctions are to be imposed must be advised in advance of the charges against

       him.”); see also Egelhof ex rel. Red Hat, Inc. v. Szulik, 193 N.C. App. 612, 616 (2008)

       (explaining that “North Carolina has consistently required” that the party against

       whom sanctions have been sought be provided “an opportunity to be heard” before an

       order imposing sanctions is entered). Second, the trial court’s conclusion that

       sanctions should be imposed against a party or attorney must be “supported by its

       findings of fact, and . . . the findings of fact [must be] supported by a sufficiency of the

       evidence.” Turner v. Duke Univ., 325 N.C. 152, 165 (1989). In light of these two

       requirements, we conclude that even if we were to treat the Business Court’s order

       as an order imposing sanctions against Womble—and even if we were to assume that

       the Business Court possessed the authority to withhold authorization of payments to

       Womble as a penalty for Mr. Mohr’s conduct—the challenged order still fails to meet

       the applicable legal requirements.

¶ 19          First, at no time did the Business Court provide Mr. Mohr or Womble with

       notice that it was considering imposing sanctions based upon Mr. Mohr’s purported

       failure to comply with a court order. Although the Business Court did “express[ ] its
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       frustration” regarding what it viewed to be the receiver’s and Mr. Mohr’s tardiness

       in submitting fee invoices, the court did not provide notice to the parties that it was

       considering imposing sanctions and did not provide “notice of the bases of the

       sanctions.” Walsh v. Cornerstone Health Care, P.A., 265 N.C. App. 672, 678 (2019)

       (quoting Egelhof v. Szulik, 193 N.C. App. 612, 616 (2008)); see also Griffin, 348 N.C.

       at 280 (“The bases for the sanctions must be alleged.”). Further, the fact that Mr.

       Mohr was present at a hearing where he disputed the Business Court’s

       characterization of his conduct “without knowing in advance the sanctions which

       might be imposed does not show a proper notice was given.” Griffin, 348 N.C. at 280.

       Allowing the Business Court’s order to deprive Womble of fees its attorney earned

       without notice and an opportunity to be heard as a sanction for its attorney’s conduct

       would violate Womble’s due process rights as “guaranteed by the Fourteenth

       Amendment of the United States Constitution.” Id. (quoting McDonald’s Corp. v.

       Dwyer, 338 N.C. 445, 448 (1994)).

¶ 20         Second, the finding that Mr. Mohr “flagrant[ly] disregard[ed] . . . the

       requirements imposed by” the order on attorney’s fees is unsupported by the record

       evidence. The order Mr. Mohr purportedly violated required the receiver to submit

       invoices to the court and specifically forbade “outside counsel” from “submit[ting] the

       request for authorization to pay outside counsel fees and costs.” Although Mr. Mohr

       represented to the Business Court that he “would take the responsibility for not
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       following up with the Receiver to make sure that the Receiver understood that he had

       to submit Womble’s bills to the [Business] Court for approval,” nothing in the record

       suggests that Mr. Mohr himself undertook any action which constituted a violation

       of the Business Court’s order. Indeed, under the terms of the order he purportedly

       violated, Mr. Mohr was prohibited from doing precisely that which the Business

       Court apparently penalized him for not doing.

¶ 21         Whether construed as an order refusing to authorize the receiver to pay

       Womble’s fees or as an order imposing sanctions on Womble for Mr. Mohr’s failure to

       adhere to the requirements of a prior court order, the order is legally deficient.

       Accordingly, we reverse the order entered on 6 November 2019 and remand to the

       Business Court for further proceedings consistent with this opinion, including the

       entry of the findings and conclusions necessary to address the questions of

       (1) whether Mr. Mohr rendered “services which require legal knowledge and skill and

       which were rendered to the receiver for the benefit of the receivership” and (2)

       determining the amount which comprises “reasonable and proper compensation for”

       any such services Mr. Mohr performed. Lowder, 309 N.C. at 707.




       C. The Business Court erred in denying the receiver’s request to pay
          Womble’s fees for its fee-recoupment litigation solely on the basis that
          authorizing payment would deplete A Perfect Fit’s assets.
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¶ 22         Appellants also challenge the Business Court’s orders refusing to authorize the

       receiver to pay fees incurred by Womble in the course of prosecuting this appeal. After

       the Business Court entered an order refusing to authorize the receiver to pay

       Womble’s fees for work undertaken by Mr. Mohr, Womble and the receiver appealed.

       Subsequently, Womble’s attorneys performed work on this appeal, which they billed

       to the receiver. In turn, the receiver requested authorization from the Business Court

       to pay Womble for this work. The first time the receiver sought authorization from

       the Business Court, it was granted. On every occasion thereafter, the Business Court

       denied authorization.

¶ 23         This Court has not previously considered whether outside counsel is entitled

       to compensation for work on litigation related to the fees originally incurred for legal

       services rendered to a receiver. However, as we have previously stated, outside

       counsel retained by a receiver is only entitled to “[r]easonable and proper

       compensation” for legal services “rendered to the receiver for the benefit of the

       receivership.” King, 258 N.C. at 711 (emphasis added). The trial court’s decision to

       grant or deny a fee payment request “must rest on facts showing actual benefits.” Id.
       at 712 (quoting 75 C.J.S. Receivers § 384a, at 1049). Accordingly, a trial court’s

       decision to grant or deny a receiver’s request to pay outside counsel’s fee-litigation

       fees requires a fact-intensive inquiry. It is not susceptible to a per se rule. We express

       no opinion on the propriety of authorizing payment of fee-litigation fees as a general
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       matter. Instead, this question must be resolved in the first instance by the trial court

       on a case-by-case basis after an examination of the purpose and nature of the services

       rendered by outside counsel and their relationship to the interests of the receivership.

¶ 24         In this case, the sole factual finding supporting the Business Court’s repeated

       denials of the receiver’s requests for authorization to pay Womble’s fee-litigation fees

       was the court’s determination that these fees “were not incurred for services

       reasonably rendered by [Womble] to the Receiver for the benefit of Perfect Fit. To the

       contrary, the Appeal, if successful, would benefit only [Womble] and would reduce the

       assets of Perfect Fit.” This finding rests on the erroneous presumption that legal

       services rendered in the furtherance of any outcome which would result in the

       diminution of a receivership’s assets is necessarily contrary to the interests of the

       receivership.

¶ 25         As this Court has previously recognized, there may be circumstances under

       which an attorney’s actions benefit a receivership even without contributing to an

       increase in the receivership’s assets. See, e.g., In re Will of Ridge, 302 N.C. 375, 384
       (1981) (concluding that the trial court did not abuse its discretion in authorizing fee

       payments to outside counsel for services rendered in pursuit of an unsuccessful legal

       claim). Further, as sister courts have recognized in various contexts, applying a per

       se rule prohibiting attorneys from recouping fee-litigation fees could ultimately harm

       parties in need of able legal representation by reducing the pool of attorneys willing
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       to provide vigorous representation on critically important matters. See, e.g., In re

       Estate of Trynin, 49 Cal. 3d 868, 871 (1989) (explaining that an outright prohibition

       on awarding fee-litigation fees for representatives of decedents’ estates would

       “ultimately be deleterious to [the estates] because attorneys would be reluctant to

       perform [necessary] services . . . if the compensation awarded for their services could

       be effectively diluted or dissipated by the expense of defending unjustified objections

       to their fee claims”); see also In re Estate of Bockwoldt, 814 N.W.2d 215, 223 (Iowa

       2012) (declining to impose a categorical rule against authorizing fee-litigation fee

       payments).

¶ 26         In a case where an attorney retained by a receiver pursues litigation in an

       effort to recoup fees that prove to have been extravagant or unreasonable, it is

       doubtful the attorney will be able to demonstrate that his or her efforts were for the

       benefit of the receivership. However, in a case such as this one where there has been

       no finding that outside counsel’s fees were unreasonable, the mere fact that

       authorizing the receiver to pay counsel’s fee-litigation fees will diminish the

       receivership’s assets does not itself establish that counsel’s services were not

       rendered for the benefit of the receivership. Accordingly, we conclude that the

       Business Court’s finding that payment of Womble’s fee-litigation fees “would reduce

       the assets of Perfect Fit” is insufficient to support the conclusion that the services

       Womble rendered did not benefit A Perfect Fit. We remand to the Business Court for
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       further proceedings not inconsistent with this opinion, including reconsideration of

       the applications for authorization to pay the fee-litigation fees under the proper legal

       standard.

                                       III.    Conclusion

¶ 27         When a receiver seeks authorization from a trial court to pay fees for services

       rendered by outside counsel, it is within the discretion of the trial court to determine

       what comprises “reasonable and proper compensation for . . . services which require

       legal knowledge and skill and which were rendered to the receiver for the benefit of

       the receivership.” Lowder, 309 N.C. at 707. Nevertheless, in this case, the Business

       Court’s decision constituted an abuse of discretion because it denied the receiver’s

       request for authorization to pay fees to Womble for services performed by one of its

       attorneys based only upon the court’s conclusion that the attorney failed to comply

       with procedural requirements imposed by a prior court order. Moreover, while a court

       generally possesses the authority to impose monetary sanctions on an attorney for

       failing to comply with a prior court order under appropriate circumstances, the

       Business Court could not impose sanctions against Mr. Mohr and Womble without

       providing them with notice of the basis for imposing sanctions and an opportunity to

       be heard, and not on the basis of conduct which the record demonstrates did not

       violate the order Mr. Mohr purportedly disregarded. In addition, the Business Court’s

       conclusion that Womble’s efforts to recoup its fees did not benefit A Perfect Fit cannot
                              BANDY V. A PERFECT FIT FOR YOU, INC.

                                            2021-NCSC-117

                                          Opinion of the Court



       be sustained solely upon the finding that authorizing payment of the fees would

       diminish A Perfect Fit’s assets.

¶ 28         Accordingly, we reverse the Business Court’s order entered on 6 November

       2019 in which the Business Court refused to authorize the receiver to pay fees for

       services rendered by Mr. Mohr and the Business Court’s orders entered on 6 March

       2020, 24 March 2020, 30 April 2020, 29 May 2020, 26 June 2020, 22 July 2020, 14

       September 2020, and 5 October 2020 in which the Business Court refused to

       authorize the receiver to pay Womble’s fee-litigation fees. We remand to the Business

       Court for further proceedings not inconsistent with this opinion.

             REVERSED AND REMANDED.
